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     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
    10   D.F., a minor, by and through his
         Guardian Ad Litem, TASHINA
    11   AMADOR, individually and as
         successor in interest to Alexis            Case No.: 3:13-cv-00331-GPC-KSC
    12   Fontalvo, deceased, and T.L., a minor,
         by and through her Guardian Ad             Judge: Hon. Gonzalo P. Curiel
    13   Litem, TASHINA AMADOR,
    14                      Plaintiffs,             MEMORANDUM OF POINTS &
                                                    AUTHORITIES IN SUPPORT OF
    15         vs.                                  PLAINTIFFS’ MOTION IN LIMINE
                                                    NO. 1
    16   SIKORSKY AIRCRAFT
         CORPORATION; SIKORSKY
    17   SUPPORT SERVICES, INC.;                    Hearing:                  04/06/2018
         UNITED TECHNOLOGIES
    18   CORPORATION; G.E. AVIATION                 Jury Trial:               05/14/2018
         SYSTEMS, LLC; DUPONT
    19   AEROSPACE CO.; E.I. DUPONT DE
         NEMOURS AND COMPANY;
    20   PKL SERVICES, INC.; and
         DOES 1 through 100, Inclusive,
    21
                      Defendants.
    22

    23                                    INTRODUCTION
    24         Sikorsky and its experts have long taken the position that decedent Staff
    25   Sergeant Fontalvo’s death was caused, in part, by his own “errors,” including forcing
    26   out the landing gear safety pin by means of “use of foreign [sic] device – the
    27   auxiliary fuel tank safety pin[.]” (See the excerpt from the Ostrowski Deposition
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   1     attached as Exhibit A, pp. 60:21–25; excerpt from the Knox Report attached as
   2     Exhibit B, p. 10.) This fanciful theory traces back to an offhanded remark by one
   3     Marine to another in the wake of the fatal mishap, which somehow gained enough
   4     momentum in the bureaucratic rumor mill to be adopted (without scrutiny or
   5     analysis) by the Air Mishap Board in their report of causative factors. Given its
   6     dubious (and ironic) provenance as both unsubstantiated rumor and official
   7     conclusion, it is both prohibited from being admitted at trial under Title 10 of the
   8     United States Code as an impermissible opinion of official accident investigators,
   9     and is inadmissible hearsay and lay opinion under the Federal Rules of Evidence.
  10           To the extent Sikorsky’s experts claim to rely on the Air Mishap Board’s
  11     Report as support for this theory, admission of both the AMB Report, and all
  12     derivative opinions, may not be admitted under the express prohibition of 10 U.S.C.
  13     § 2254(d), which outright forbids the use as evidence of any opinion of official
  14     aviation mishap investigators as to the factors contributing to a mishap.
  15           On the other hand, to the extent Sikorsky’s experts claim to rely on witness
  16     statements outside the AMB Report, any such statement was revealed during
  17     discovery to be hearsay traceable to one Evan Reid Shelton, the crew chief on the
  18     fateful training exercise, who candidly disavowed the theory, insisting frankly that
  19     he never saw any such thing and it originated strictly as “speculation” on his part.
  20     (See the excerpt from his deposition attached as Exhibit C.)            All subsequent
  21     references to this theory are pure, unreliable hearsay, with multiple levels, all leading
  22     back to Shelton’s admitted speculation. The professed “speculation” is inadmissible
  23     under F.R.E. 701, because it is a lay opinion (and a retracted one, at that) not “based
  24     on the witness’s perception,” “helpful to determining a fact in issue,” or within a
  25     typical layman’s knowledge. The hearsay is all inadmissible under F.R.E. 802.
  26           ///
  27           ///
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   1                                          ARGUMENT
   2             Mr. Ostrowski testified at his deposition that he arrived at the conclusion that
   3     the decedent forced the safety pin out with the aux tank pin based on the testimony
   4     of Lt. Cpl. Evan Shelton, as well as the AMB Report, and that his opinion, like
   5     Shelton’s, was “speculation.”       (Ex. A, pp. 60:18–61:11.)1        Just Ostrowski’s
   6     concession that he is “speculating” alone renders this opinion unreliable and
   7     inadmissible under F.R.E. 702, which provides that expert opinion is only admissible
   8     if based on “sufficient facts or data,” as well as “reliable principles and methods.”
   9     Speculation is quintessentially insufficient and methodologically bankrupt.
  10             In addition to excluding Ostrowski’s self-characterized “speculation,” the
  11     Court should further expressly disallow him from relating the contents of the AMB
  12     Report and the various hearsay sources of this apocryphal “Aux Pin Theory.”
  13     I.      THE “AUX PIN” THEORY, AS ADOPTED BY THE AIR MISHAP
  14             BOARD, IS PROHIBITED TO BE USED AS EVIDENCE UNDER 10
  15             U.S.C. § 2254(d).
  16             Sikorsky may not rely on the AMB Report to advance the theory, or elicit
  17     expert opinion testimony, that the decedent somehow used the auxiliary tank pin as
  18     a “tool” or “lever” to pry out the landing gear safety pin. There is a special federal
  19     statute forbidding exactly that use of an AMB opinion as to factors contributing to
  20     an aircraft mishap:
  21             (a) In general.--(1) Whenever the Secretary of a military department
  22             conducts an accident investigation of an accident involving an aircraft under
  23             the jurisdiction of the Secretary, the records and report of the investigations
  24             shall be treated in accordance with this section.
  25

  26     1
          Mr. Knox testified he “saw it somewhere,” but didn’t remember the source.
  27     (Obviously, meaning Sikorsky’s lawyers just told him to say it.) So as to keep the
         attachments under ten pages per the Court’s Jan. 12 Order [Doc. No. 228], this
  28
         unhelpful testimony is excluded from this Motion.
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   1           ***
   2           (d) Use of information in civil proceedings.--For purposes of any civil or
   3           criminal proceeding arising from an aircraft accident, any opinion of the
   4           accident investigators as to the cause of, or the factors contributing to, the
   5           accident set forth in the accident investigation report may not be considered
   6           as evidence.
   7     10 U.S.C.A. § 2254 (West). Courts have routinely held, therefore, that the proper
   8     trial procedure is to redact all “opinions,” “findings,” and “conclusions,” even
   9     though the balance of the report may be admitted.           See, e.g., Richardson v.
  10     Bombardier, Inc., 2005 WL 3087864, at *10 (M.D. Fla., Nov. 16, 2005, No.
  11     8:03CV539T31MSS), aff'd sub nom. Ferguson v. Bombardier Services Corp. (11th
  12     Cir. 2007) 244 Fed.Appx. 944; Lopez v. Three Rivers Elec. Co-op., Inc., 92 S.W.3d
  13     165, 170 (Mo. Ct. App. 2002), overruled on other grounds as to unrelated issue by
  14     Joy v. Morrison (Mo. 2008) 254 S.W.3d 885. Here, Fontalvo’s rumored misuse of
  15     the aux pin, a product of a tireless and sprawling bureaucratic game of “telephone,”
  16     made its way onto the AMB Report’s list of four “factors” contributing to this
  17     accident.   (See the excerpt of NCIS Special Agent Rebecca Fitzsimmons’s
  18     deposition attached as Exhibit D, pp. 58:16–23.) For that reason, it is as forbidden
  19     from use as evidence as it is unsubstantiated and unreliable (as described more fully
  20     below).
  21     II.   THE “AUX PIN” THEORY WAS FRANKLY ACKNOWLEDGED BY
  22           LT.CPL. SHELTON AS ONLY HIS OWN “SPECULATION,” AND IS
  23           THEREFORE AN INADMISSIBLE LAY OPINION.
  24           Lt. Cpl. Shelton has freely acknowledged that he did not see the decedent use
  25     the aux pin as a “tool” to pry out the safety pin; instead, he repeatedly stressed that
  26     it was “just [his] opinion,” and “speculation” on his part. (Ex. C, p. 9:10–16.)
  27     Similarly, NCIS Special Agent Rebecca Fitzsimmons clearly testified that in her
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   1     canvassing of witnesses, she ruled out any eyewitness seeing such an action, and
   2     confirmed that the theory was solely the product of “speculation on those Marines’
   3     part.” (See the excerpt of her deposition attached as Exhibit D, pp. 58:20–60:11.)2
   4            Given the uncommon circumstance that the out-of-court declarant testified
   5     under oath not only that he considered his declaration “opinion,” but that he actively
   6     discounted it as “speculation,” it is uncontested that it is inadmissible lay opinion
   7     not rationally based on his perception, and therefore excluded under Rule 701.
   8     Sikorsky may nonetheless argue that their experts remain entitled to bootstrap the
   9     out-of-court declaration in under Rule 703, which permits an expert to rely on “facts
  10     or data” that are otherwise impermissible, without disclosing the declaration itself to
  11     the jury. However, to the extent Sikorsky’s seeks to introduce the Aux Pin Theory
  12     under this method, such a tactic would fail under the basic principle of Rule 702 that
  13     an expert can only testify as to issues requiring some expertise: repeating an
  14     unsubstantiated, and debunked, rumor among lay Marines regarding non-technical
  15     events simply falls outside the permissible scope of expert opinion.
  16     III.   THE “AUX PIN” THEORY IS INDISPUTABLY BEING OFFERED
  17            FOR    THE     TRUTH,       AND     THEREFORE          IS   INADMISSIBLE
  18            HEARSAY UNDER RULE 802, AND CANNOT BE CONVEYED BY
  19            SIKORSKY’S EXPERTS ABSENT AN EXCEPTION.
  20            Sikorsky’s experts are furthermore prevented from bootstrapping in their
  21     effete “evidence” of the Aux Pin Theory since they cannot overcome its nature as
  22     inadmissible hearsay. “If an expert testifies to case-specific out-of-court statements
  23     to explain the bases for his opinion, those statements are necessarily considered by
  24     the jury for their truth, thus rendering them hearsay.” People v. Sanchez, 63 Cal.4th
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          Special Agent Fitzsimmons recounted her painstaking debunk-ment of this theory
         in exquisite detail during her deposition. In order to meet the ten-page limit to
  27     attachments imposed by the Court [Doc. No. 228], the entirety of her tale is not
  28     included here. It can be lodged with the Court upon request.

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   1     665, 684 (2016).3 Each level of such hearsay must furthermore qualify for an
   2     exception in order to be admissible. Id., fn. 11. Here, multiple sources have repeated
   3     this speculative “theory,” but all traceable back to Shelton, whose out-of-court
   4     declaration is not subject to any exception.4 The highest level of repetition of the
   5     theory is, of course, the finding of the Air Mishap Board—which is not only hearsay,
   6     but is expressly prohibited from use as explained in Section I. above. Therefore,
   7     there is no permissible basis for Sikorsky to introduce any evidence of this theory,
   8     on any level, and any argument about it should be preemptively excluded so as to
   9     avoid confusion, misleading, and waste of time under Rule 403.
  10                                        CONCLUSION
  11            For the foregoing reasons, Sikorsky should be precluded at trial from
  12     advancing their avowed theory that the death of decedent Staff Sergeant Fontalvo
  13     was caused, in whole or in part, by his alleged use of the pin for the auxiliary fuel
  14     tank “as a tool to get the landing gear pin out.”
  15     Dated: March 23, 2018
  16                                      GRASSINI, WRINKLE & JOHNSON
  17
                                          /s/ Marshall J. Shepardson, Esq.
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                                          Attorneys for Plaintiffs
                                          mshepardson@grassinilaw.com
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          In arriving at their holding in Sanchez, the California Supreme Court expressly
  22     relied on the reasoning and principles observed by the majority of the Justices of the
         U.S. Supreme Court in Williams v. Illinois, 567 U.S. 50 (2012). See Sanchez, 63
  23     Cal.4th at 684, fn. 10. The Williams decision turned only on the plurality’s ruling
  24     that the offered evidence was not being offered for the truth of the matter; here,
         Sikorsky’s experts are plainly trying to bring in hearsay for the “truth” of their feeble
  25     Aux Pin Theory, so Williams’s holding is immaterial to this Motion, although the
  26     underlying principle that experts cannot introduce hearsay for the truth of the matters
         asserted is common to both California and federal law.
  27
         4
          There is no evidence that it was an “excited utterance” on Shelton’s part, but was
  28
         instead merely cool surmise during the protracted aftermath of the mishap.
                                                       6
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